FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 9/10/2021 4:42 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Patricia Serna
CORNELIUS MACKEY,

Plaintiff,
Vv. No. D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,
Defendants.
COMPLAINT FOR DAMAGES, NOTICE OF APPEAL AND JURY DEMAND

Cornelius Mackey, by and through his attorneys Valdez and White Law Firm, LLC
{Timothy L. White), for his claims against Defendants states:

1. This is an action for damages arising from Mr. Mackey's termination by

Defendants due to his race, in violation of 42U.S.C. § 1981.

PARTIES, JURISDICTION AND VENUE

bh

Plaintiff, upon information and belief is a resident of Sandoval County, New
Mexico.

Plaintiff’s is a black man.

uw?

4. Defendant Dillard’s, Inc., is a foreign corporation with a registered agent for
service of process located at 206 S. Coronado Ave, Espanola, NM 87532-
2792.

5. Defendant Jon Notz, upon information and belief, is a resident of Bernalillo

County, New Mexico.

EXHIBIT

A
6, Defendant Jon Notz’s race is white, upon information and belief.

7. Defendant Julie Doe’s residence is unknown but upon information and belief
is in New Mexico.

8. Defendant Julie Doe’s race is white, upon information and belief.

9. Jurisdiction and venue are proper in this court as all acts complained of

occurred in New Mexico

FACTS COMMON TO ALL COUNTS

10. Plaintiff was hired by Defendants in 2015 as a dock worker and
shipper/receiver at the Dillard’s department store located at Cottonwood
Mall in Northwest Albuquerque, New Mexico.

11. Plaintiff worked hard and did his job as instructed with no disciplinary
issues whatsoever.

12. Plaintiff was first informed of an open full-time position of dock manager
in 2017 by “Cathy”, who suggested Plaintiff ask Defendant Notz about
applying for the position.

13.“Cathy” reminded Plaintiff that Defendant Notz had an “open door
policy”.

14. Plaintiff knocked on Defendant Notz’s door and requested he be allowed
to apply for the dock manager position.

15. Defendant Notz ignored Plaintiff as though he was not there.

16. Within a few days, Plaintiff again asked Defendant Notz if he could apply

for the dock manager position but was denied by Defendant Notz who
said, “Until we repeal Obamacare I’m not going to hire anyone full time.”

17. Plaintiff did not understand what Obamacare had to do with applying for a
position, but he inferred from these statements that Defendant Notz
appeared to be biased against then President Barack Obama, the first and
only black president in American history.

18. Plaintiff continued to work hard and do his job at Dillard’s after being
refused the opportunity to apply for the open dock manager position.

19. Plaintiff would occasionally seek advice from Defendant Notz, as
Plaintiff's father died when Plaintiff was in his late twenties and he missed
those types of interactions with his father.

20.On several occasions when Plaintiff would seek such advice, Defendant
Notz responded coldly and with derogatory comments about young black
men, such as “they all wear baggy pants” or “ they don’t read books”.

21. Plaintiff stopped initiating these types of interactions with Defendant Notz
because he responded with stereotypes about young black men which
Plaintiff found to be hurtful and offensive.

22.On or around October 11, 2019, Plaintiff's direct supervisor, Mike
McDonald, who is also a black man, asked Plaintiff to take care of the
trash.

23. Plaintiff did as he was instructed and went to retrieve one or two gray
trash bins to begin the task.

24. Plaintiff already had a flatbed cart with some boxes on it that he planned

to take to the trash receptacle along with the trash he would now collect.
25. At that time, Plaimtitf saw another employee, Alex Perez, whom Plaintiff
understood to be white or Hispanic.

26, Mr. Perez had the floor cleaning machine and was standing in front of the
service elevator with it.

27. Plaintiff asked Mr. Perez to send up the elevator and noticed the smell of
alcohol on Mr. Perez’s breath.

28. Mr. Perez responded to Plaintiff with, “I need you to move. I’m sick of this.”

29, Plaintiff was not in Mr. Perez’s way at all but he once again said to Plaintiff,
“Tl need you to move, I’m tired of this,” and tried to forcibly move the flatbed
cart of boxes in Plaintiff's possession. The boxes began to fall off the cart
and Mr. Perez began kicking the boxes.

30. Plaintiff told Mr. Perez to stop kicking the boxes but Mr. Perez refused.

31. Plaintiff said to Mr. Perez that, “This can go two ways. Either me and you
start tussling or I’m going to go tel] Mike.”

32. Plaintiff turned to go tell their supervisor, Mike McDonald, what was
happening but Mr. McDonald was already on his way to the scene, shouting at

Mr. Perez to, “Leave! Get out of my store!”

uo

3. Mr. Perez refused to leave so Mr. McDonald again told Mr. Perez to leave and
said he would call the police if he did not leave. Mr. Perez responded by
saying, “Go ahead. I’m not gomg anywhere.”

34. Plaintiff turned at that moment and saw Mr. Perez and Mr. McDonald

wrestling and saw Mr. McDonald strike Mr. Perez, twice. The second time

Mr. McDonald struck Mr. Perez, Plaintiff offered his hand to Mr. Perez to
help him to get up off the floor and to break up the fight by moving Mr. Perez

away from Mr. McDonald and into the service elevator with Plaintiff.

tad
i

. As soon as Plaintiff and Mr. Perez stepped into the service elevator, Plaintiff

saw Mr. Perez pull out a box cutter.

36. Plaintiff became justifiably concerned for his safety and tried to de-escalate
the situation saying that he was not the person who had hit Mr. Perez.
Plaintiff also tried to press the elevator button, but Mr. Perez once again
wielded the box cutter toward Plainttt,

37. Plaintiff grabbed Mr. Perez’s wrist and successfully wrestled the box cutter
from Mr. Perez to stop him from stabbing Plaintiff or anyone else.

38. Another manager told Defendant Notz about the incident.

39. Plaintiff requested to see the video from the elevator that showed the incident
but Defendant Notz refused to show it to Plaintiff and instead told Plaintiff he
did not see Mr. Perez holding a box cutter.

40. Defendant Notz also toid Plaintiff that, “The police have the video and you
could get some serious charges”, while Defendant Doe shook her head up and
down and “umm humm ’ed” under her breath.

41. Defendant Notz then fired Plaintiff and Mr. McDonald but not Mr. Perez.

4? Plaintiff was fired because of his race.

COUNT I - DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF
42 USC§ 1981

43. Plaintiff incorporates by reference the factual allegations of each of the
preceding paragraphs.

44 Plaintiffis Black.

45. Plaintiff was fired because of his race when Defendant Notz refused to
terminate Mr. Perez for wielding a box cutter toward Plaintiff and instead
terminated Plaintiff’s employment.

46. Plaintiff was damaged by the loss of all available compensatory and
punitive damages under the statute, including reasonable attorneys’ fees
and costs.

47. Defendants’ conduct was knowingly wrongful, malicious, wanton and in
reckless disregard of Plaintiff's rights. Plaintiff seeks all damages,

compensatory and punitive, permitted by law.

Respecttully submited,
VALDEZ AND WHITE LAW FIRM, LLC

By: 4s) Fimotiy 1, White
Timothy L. White

124 Wellesley Drive SE
Albuquerque, NM 87125-5646
Telephone: (S05) 345-0289
Facsimile (305) 345-2573
Attorneys for Plaintiff

   
FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 9/10/2021 4:42 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Patricia Serna
CORNELIUS MACKEY,

Plaintiff,
Vv. No.  D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,

Defendants.
COURT ANNEXED ARBITRATION CERTIFICATE
Plaintiff, by and through his attorneys, Valdez and White Law Firm, LLC
(Timothy L. White), pursuant to Second Judicial District Local Rule 2-603, certifies that
this party seeks relief in excess of twenty-five thousand dollars ($25,000.00) exclusive of
punitive damages, interest, costs and attorney’s fees.
Respectfully submitted,

VALDEZ AND WHITE LAW FIRM, LLC

By: /s/ Timothy L. White

Timothy L. White

124 Wellesley Drive SE
Albuquerque, New Mexico 87106
Tel: (505) 345-0289

Facsimile :(505) 345-2573
tun@valdezwhite com

Attorneys for Plaintiff
FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 10/12/2021 12:20 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Andrea Gutierrez
CORNELIUS MACKEY,

Plaintiff,
v. No. D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,
Defendants.
RETURN OF SERVICE
Plaintiff Cornelius Mackey, by and through his attorney of record, VALDEZ &
WHITE LAW FIRM, LLC (Timothy L. White), pursuant to Rule 1-004(1) NMRA, hereby
certifies that the Dillard’s Inc. was served with the following documents:
1. Summons on Complaint for Damages
2. Endorsed copy of Complaint for Damages
Dillard’s Inc. was served via Certified Priority Mail article 7020 3160 0001 5287
4394. The USPS electronic return receipt shows an illegible signature at 10:57 a.m. on

October 6, 2021 at 206 S Coronado Ave, Espafiola, New Mexico 87532 (Exhibit A, pg. 3).

Dillard’s Inc. has been sufficiently served in accordance with Rule 1-004(G)(3) NMRA.

Respectfully submitted,

VALDEZ & WHITE LAW FIRM, LLC

By:/s/Timothy L. White
Timothy L. White

124 Wellesley Drive SE
Albuquerque, NM 87106
Tel: (505) 345-0289
Fax: (505) 345-2573

abastaraedapadossersseocsecsosessescnessararesesseresnsee

CERTIFICATE OF SERVICE

 

| hereby certify that a true and correct copy of this pleading was electronically
filed in Odyssey on this 8th day of October 2021, thereby serving all counsel of record.

/s/Timothy L. White
Timothy L. White
 

SUMMONS ON COMPLAINT FOR DAMAGES |

 

 

District Court: Second Judicial Case Number: D-202-C V-2021-05333
Court Address: 400 Lomas Blvd NW
Albuquerque, New Mexico $7102 Judge: Honorable Erin O’Connell

Court Telephone No: (505) 841-8400
Cornelius Mackey,

 

Name: Diflard’s, Inc.
Plaintift, c/o Registered Agent
v. CT Corporation System
Address:
DILLARD'S, INC., JON NOTYZ, Individually | 206 S Coronado Ave
and as Agent of Dillard’s Inc., and JULIE DOE.) Espafiola, New Mexico 87532-2792
Individually and as Agent of Dillard’s Inc.,

 

 

 

Defendants.

 

TO THE ABOVE NAMED DEFENDANT(S) Take notice that

1. A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this
Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the Court

no later than thirty (40) days from the date you are served with this Summons. (The date you are
considered served with the Sumnions is determined by Rule 1-004 NMRA} The Court's address is
listed above.

 

3. You must file Gn person or by mail) your written response with the Court. When you file your
response, you must give or mail a copy to the person who signed the lawsuit.
4, lf you do not respond in writing, the Court may enter judgment against you as requested in the
lawsuit.
5. You are entitled to a jury trial in most types of lawsuits. To ask for ajury tial, you must request
one in writing and pay a jury fee.
6. if you need an interpreter, you must ask for one in writing.
7, You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www nmbarore: 1-800-876-6657; or 1-505-797-6066.
Dated at . New Mexico, on this day of — 10/4/2021 2021.

Katina Watson , CLERK OF COURT

 

Ba SECOND IDESAL EMRTRICT COUT
Goh CLERK CF TRE COURT
a

 
  
 

Attorney for Plaintiff

"3
=
a

  

oe ae} Name: Timothy L. White
Smee ey By Address: 124 Wellesley Drive SE
LUPE Orputy Chere

Albuquerque, NM 87106

Tel: (505)345-0289

Fax: (505) 345-2573

Email Address: tim@valdeawhite.com

Leanne LeCompte

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
 

RETURN

STATE OF NEW MEXICO )
)ss
COUNTY OF BERNALILLO)

I, being duly sworn, on oath, state that | am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in Rio Arriba county on the 6th —_ day of October , 2021,

by delivering a copy of this summons, with a copy of complaint attached, in the following manner:

}{ ‘to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA.

After attempting to serve the summons and complaint on the defendant by personal service or by mail or
commercial courier service, by delivering a copy of this summons, with a copy of complaint attached, in
the following manner:

[] to . a person over fifteen (15) years of age and residing at the usual
place ofabode of defendant. , (used when the defendant is not presently at place of
abode) and by mailing by first class mail to the defendant at __ (insert defendant's
last known mailing address) a copy of the summons and complaint.

[] to , the person apparently in charge at the actual place of business or
employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last known

 

 

 

 

 

mailing address).

[] to , an agent authorized to receive service of process for defendant
[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem] of
defendant (used when defendant is a minor or an incompetent person).

[] to (name of person), . (title of

 

 

person authorized to receive service. Use this alternative when the defendant is a corporation or an
association subject to a suit under a common name, a land grant board of trustees, the State af New
Mexico or any political subdivision).

Fees: wa Up» lite

Signature of person niaking service

 

 

Noa
Attomeys for Plaintiff
Title (ifany)

 

Subscribed and sworn to before me this 7th day of October 99.21

   

 

Official Seat
JA ALROY
Notary Public

wie) State of New Mexi
wy, Commiasion Expires “fishes

    

 

 

orized to administer oaths

 

 

Official title

1 EXHIBIT A
 

 

UNIVERSITY
115 CORNELL DR SE
ALBUQUEROUE, NM 87106-9996
(SO0} 278-8777

toa/2024 4d: 32 AM
Product t Cty unt 1 Pr 1 oe
Price
Priority Mal 6 t Day 1 $8. 70
Flat Rate Env
Albucuarque, NM @?iid “DN wo
Fiat Rate No. wD)
Expected Delivery date 4
Tue La/0S/2004
mn, CAPT Pied Mai l® $3.75

Tracking #:
FOQUS1S0000 1228 7adgg
e-Return Receigd § $1.85
Total $14.30

Priority Hail® 2-Day 1 Dyes $8.70
ray
Fiat Rate SKCE De

Expented Gelivery Date
Tru 10/07/2024

    

  

Certified Malia $3.75
ce Tr :

e-Return Receipt : $1.85

Total $14.30

Brand Total: $28.60

Deisit Card Remi tted 28 60

EXHIBIT A
geo VAETED STATES
Ba POSTAL SERVICE

October 6, 2021

Dear Jan Alroy:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 3160 0001 5287 4394.

Status: Delivered, Front Desk/Reception/Mail Room
Status Date / Time: October 6, 2021, 10:57 am

Location: ESPANOLA, NM 87532

Postal Product: Priority Mail®

Extra Services: Certified Mail™

Return Receipt Electronic
Up to $50 insurance included

shipment Details

 

Weight: 3.00z

 

Recipient Signature

 

VEY C4,
Signature of Recipient: QW

Va by amy

Address of Recipient:

 

 

 

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

3 EXHIBIT A
FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 10/12/2021 12:20 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Andrea Gutierrez
CORNELIUS MACKEY,

Plaintiff,
v. No. D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,
Defendants.
RETURN OF SERVICE
Plaintiff Cornelius Mackey, by and through his attorney of record, VALDEZ &
WHITE LAW FIRM, LLC (Timothy L. White), pursuant to Rule 1-004(1) NMRA, hereby
certifies that Jon Notz as Agent of Dillard’s Inc. was served with the following documents:
1. Summons on Complaint for Damages
2. Endorsed copy of Complaint for Damages
Dillard’s Inc. was served via Certified Priority Mail article 7020 3160 0001 5287
4394. The USPS electronic return receipt shows an illegible signature at 10:57 a.m. on

October 6, 2021 at 206 S Coronado Ave, Espafiola, New Mexico 87532 (Exhibit A, pg. 3).

Dillard’s Inc. has been sufficiently served in accordance with Rule 1-004(G)(3) NMRA.

Respectfully submitted,

VALDEZ & WHITE LAW FIRM, LLC

By:/s/Timothy L. White
Timothy L. White

124 Wellesley Drive SE
Albuquerque, NM 87106
Tel: (505) 345-0289
Fax: (505) 345-2573

abastaraedapadossersseocsecsosessescnessararesesseresnsee

CERTIFICATE OF SERVICE

 

| hereby certify that a true and correct copy of this pleading was electronically
filed in Odyssey on this 8th day of October 2021, thereby serving all counsel of record.

/s/Timothy L. White
Timothy L. White
 

SUMMONS ON COMPLAINT FOR DAMAGES |

 

 

District Court: Second Judicial Case Number: D-202-C V-2021-05333
Court Address: 400 Lomas Blvd NW
Albuquerque, New Mexico $7102 Judge: Honorable Erin O’Connell

Court Telephone No: (505) 841-8400
Cornelius Mackey,

 

Name: Jon Notz as Agent of
Plaimtitf, Dillard’s inc.

v. c/o Registered Agent

CT Corporation System

DILLARD'S, INC., FON NOT, Individually | Address:

and as Agent of Dillard’s Inc., and JULIE DOH 206 S Coronado Ave

Individually and as Agent of Dillard’s Inc., Espafiola, New Mexico 87532-2792

 

 

 

Defendants.

 

TO THE ABOVE NAMED DEFENDANT(S) Take notice that

1. A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this
Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the Court

no later than thirty (40) days from the date you are served with this Summons. (The date you are
considered served with the Sumnions is determined by Rule 1-004 NMRA} The Court's address is
listed above.

 

3. You must file Gn person or by mail) your written response with the Court. When you file your
response, you must give or mail a copy to the person who signed the lawsuit.
4, lf you do not respond in writing, the Court may enter judgment against you as requested in the
lawsuit.
5. You are entitled to a jury trial in most types of lawsuits. To ask for ajury tial, you must request
one in writing and pay a jury fee.
6. if you need an interpreter, you must ask for one in writing.
7, You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www nmbarore: 1-800-876-6657; or 1-505-797-6066.
Dated at . New Mexico, on this day of — 10/4/2021 2021.

Katina Watson , CLERK OF COURT

 

   
  

Se THECOORD (LED CRAL DAS TROT COMET

Attorney for Plaintiff

Name: Timothy L. White

Se ee Address: i24 Wellesley Drive SE
Leanne LeCompte Albuquerque, NM 87106

Tel: (505)345-0289

Fax: (505) 345-2573

Email Address: tim@valdeawhite.com

 

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
 

RETURN

STATE OF NEW MEXICO )
)ss
COUNTY OF BERNALILLO)

I, being duly sworn, on oath, state that | am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in Rio Arriba county on the 6th —_ day of October , 2021,

by delivering a copy of this summons, with a copy of complaint attached, in the following manner:

}{ ‘to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA.

After attempting to serve the summons and complaint on the defendant by personal service or by mail or
commercial courier service, by delivering a copy of this summons, with a copy of complaint attached, in
the following manner:

[] to . a person over fifteen (15) years of age and residing at the usual
place ofabode of defendant. , (used when the defendant is not presently at place of
abode) and by mailing by first class mail to the defendant at __ (insert defendant's
last known mailing address) a copy of the summons and complaint.

[] to , the person apparently in charge at the actual place of business or
employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last known

 

 

 

 

 

mailing address).

[] to , an agent authorized to receive service of process for defendant
[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem] of
defendant (used when defendant is a minor or an incompetent person).

[] to (name of person), . (title of

 

 

person authorized to receive service. Use this alternative when the defendant is a corporation or an
association subject to a suit under a common name, a land grant board of trustees, the State af New
Mexico or any political subdivision).

Fees: wa Up» lite

Signature of person niaking service

 

 

Noa
Attomeys for Plaintiff
Title (ifany)

 

Subscribed and sworn to before me this 7th day of October 99.21

   

 

Official Seat
JA ALROY
Notary Public

wie) State of New Mexi
wy, Commiasion Expires “fishes

    

 

 

orized to administer oaths

 

 

Official title

1 EXHIBIT A
 

 

UNIVERSITY
115 CORNELL DR SE
ALBUQUEROUE, NM 87106-9996
(SO0} 278-8777

toa/2024 4d: 32 AM
Product t Cty unt 1 Pr 1 oe
Price
Priority Mal 6 t Day 1 $8. 70
Flat Rate Env
Albucuarque, NM @?iid “DN wo
Fiat Rate No. wD)
Expected Delivery date 4
Tue La/0S/2004
mn, CAPT Pied Mai l® $3.75

Tracking #:
FOQUS1S0000 1228 7adgg
e-Return Receigd § $1.85
Total $14.30

Priority Hail® 2-Day 1 Dyes $8.70
ray
Fiat Rate SKCE De

Expented Gelivery Date
Tru 10/07/2024

    

  

Certified Malia $3.75
ce Tr :

e-Return Receipt : $1.85

Total $14.30

Brand Total: $28.60

Deisit Card Remi tted 28 60

EXHIBIT A
geo VAETED STATES
Ba POSTAL SERVICE

October 6, 2021

Dear Jan Alroy:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 3160 0001 5287 4394.

Status: Delivered, Front Desk/Reception/Mail Room
Status Date / Time: October 6, 2021, 10:57 am

Location: ESPANOLA, NM 87532

Postal Product: Priority Mail®

Extra Services: Certified Mail™

Return Receipt Electronic
Up to $50 insurance included

shipment Details

 

Weight: 3.00z

 

Recipient Signature

 

VEY C4,
Signature of Recipient: QW

Va by amy

Address of Recipient:

 

 

 

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

3 EXHIBIT A
FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 10/12/2021 12:20 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Andrea Gutierrez
CORNELIUS MACKEY,

Plaintiff,
v. No. D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,
Defendants.
RETURN OF SERVICE
Plaintiff Cornelius Mackey, by and through his attorney of record, VALDEZ &
WHITE LAW FIRM, LLC (Timothy L. White), pursuant to Rule 1-004(1) NMRA, hereby
certifies that Julie Doe as Agent of Dillard’s Inc. was served with the following documents:
1. Summons on Complaint for Damages
2. Endorsed copy of Complaint for Damages
Dillard’s Inc. was served via Certified Priority Mail article 7020 3160 0001 5287
4394. The USPS electronic return receipt shows an illegible signature at 10:57 a.m. on

October 6, 2021 at 206 S Coronado Ave, Espafiola, New Mexico 87532 (Exhibit A, pg. 3).

Dillard’s Inc. has been sufficiently served in accordance with Rule 1-004(G)(3) NMRA.

Respectfully submitted,

VALDEZ & WHITE LAW FIRM, LLC

By:/s/Timothy L. White
Timothy L. White

124 Wellesley Drive SE
Albuquerque, NM 87106
Tel: (505) 345-0289
Fax: (505) 345-2573

abastaraedapadossersseocsecsosessescnessararesesseresnsee

CERTIFICATE OF SERVICE

 

| hereby certify that a true and correct copy of this pleading was electronically
filed in Odyssey on this 8th day of October 2021, thereby serving all counsel of record.

/s/Timothy L. White
Timothy L. White
 

SUMMONS ON COMPLAINT FOR DAMAGES |

 

 

District Court: Second Judicial Case Number: D-202-C V-2021-05333
Court Address: 400 Lomas Blvd NW
Albuquerque, New Mexico $7102 Judge: Honorable Erin O’Connell

Court Telephone No: (505) 841-8400
Cornelius Mackey,

 

Name: Julie Dee as Agent of
Plaimtitf, Dillard’s inc.

v. c/o Registered Agent

CT Corporation System

DILLARD'S, INC., JON NOTZ, Individually | Address:

and as Agent of Dillard’s Inc., and JULIE DOE! 206 S Coronado Ave

Individually and as Agent of Dillard’s Inc., Espafiola, New Mexico 87532-2792

 

 

 

Defendants.

 

TO THE ABOVE NAMED DEFENDANT(S) Take notice that

1. A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this
Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the Court

no later than thirty (40) days from the date you are served with this Summons. (The date you are
considered served with the Sumnions is determined by Rule 1-004 NMRA} The Court's address is
listed above.

 

3. You must file Gn person or by mail) your written response with the Court. When you file your
response, you must give or mail a copy to the person who signed the lawsuit.
4, lf you do not respond in writing, the Court may enter judgment against you as requested in the
lawsuit.
5. You are entitled to a jury trial in most types of lawsuits. To ask for ajury tial, you must request
one in writing and pay a jury fee.
6. if you need an interpreter, you must ask for one in writing.
7, You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www nmbarore: 1-800-876-6657; or 1-505-797-6066.
Dated at . New Mexico, on this day of 10/4/2021 2021.

Katina Watson , CLERK OF COURT

 

Attorney for Plaintiff
Pe! Name: Timothy L. White
eee Address: 124 Wellesley Drive SE
Leanne LeCompte Albuquerque, NM 87106
Tel: (505)345-0289
Fax: ($05) 345-2573

  

sheeeetontanueeereterseterteceserersnserereterrterssereet

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
 

RETURN

STATE OF NEW MEXICO )
)ss
COUNTY OF BERNALILLO)

I, being duly sworn, on oath, state that | am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in Rio Arriba county on the 6th —_ day of October , 2021,

by delivering a copy of this summons, with a copy of complaint attached, in the following manner:

}{ ‘to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA.

After attempting to serve the summons and complaint on the defendant by personal service or by mail or
commercial courier service, by delivering a copy of this summons, with a copy of complaint attached, in
the following manner:

[] to . a person over fifteen (15) years of age and residing at the usual
place ofabode of defendant. , (used when the defendant is not presently at place of
abode) and by mailing by first class mail to the defendant at __ (insert defendant's
last known mailing address) a copy of the summons and complaint.

[] to , the person apparently in charge at the actual place of business or
employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last known

 

 

 

 

 

mailing address).

[] to , an agent authorized to receive service of process for defendant
[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem] of
defendant (used when defendant is a minor or an incompetent person).

[] to (name of person), . (title of

 

 

person authorized to receive service. Use this alternative when the defendant is a corporation or an
association subject to a suit under a common name, a land grant board of trustees, the State af New
Mexico or any political subdivision).

Fees: wa Up» lite

Signature of person niaking service

 

 

Noa
Attomeys for Plaintiff
Title (ifany)

 

Subscribed and sworn to before me this 7th day of October 99.21

   

 

Official Seat
JA ALROY
Notary Public

wie) State of New Mexi
wy, Commiasion Expires “fishes

    

 

 

orized to administer oaths

 

 

Official title

1 EXHIBIT A
 

 

UNIVERSITY
115 CORNELL DR SE
ALBUQUEROUE, NM 87106-9996
(SO0} 278-8777

toa/2024 4d: 32 AM
Product t Cty unt 1 Pr 1 oe
Price
Priority Mal 6 t Day 1 $8. 70
Flat Rate Env
Albucuarque, NM @?iid “DN wo
Fiat Rate No. wD)
Expected Delivery date 4
Tue La/0S/2004
mn, CAPT Pied Mai l® $3.75

Tracking #:
FOQUS1S0000 1228 7adgg
e-Return Receigd § $1.85
Total $14.30

Priority Hail® 2-Day 1 Dyes $8.70
ray
Fiat Rate SKCE De

Expented Gelivery Date
Tru 10/07/2024

    

  

Certified Malia $3.75
ce Tr :

e-Return Receipt : $1.85

Total $14.30

Brand Total: $28.60

Deisit Card Remi tted 28 60

EXHIBIT A
geo VAETED STATES
Ba POSTAL SERVICE

October 6, 2021

Dear Jan Alroy:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 3160 0001 5287 4394.

Status: Delivered, Front Desk/Reception/Mail Room
Status Date / Time: October 6, 2021, 10:57 am

Location: ESPANOLA, NM 87532

Postal Product: Priority Mail®

Extra Services: Certified Mail™

Return Receipt Electronic
Up to $50 insurance included

shipment Details

 

Weight: 3.00z

 

Recipient Signature

 

VEY C4,
Signature of Recipient: QW

Va by amy

Address of Recipient:

 

 

 

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

3 EXHIBIT A
FILED
2ND JUDICIAL DISTRICT COURT
Bernalillo County

STATE OF NEW MEXICO 10/12/2021 12:20 PM
COUNTY OF BERNALILLO CLERK OF THE COURT
SECOND JUDICIAL DISTRICT Andrea Gutierrez
CORNELIUS MACKEY,

Plaintiff,
v. No. D-202-CV-2021-05333

DILLARD’S, INC., JON NOTZ, Individually
and as Agent of Dillard’s Inc., and JULIE DOE,
Individually and as Agent of Dillard’s Inc.,
Defendants.
RETURN OF SERVICE
Plaintiff Cornelius Mackey, by and through his attorney of record, VALDEZ &
WHITE LAW FIRM, LLC (Timothy L. White), pursuant to Rule 1-004(1) NMRA, hereby
certifies that Jon Notz, Individually, was served with the following documents:
1. Summons on Complaint for Damages
2. Endorsed copy of Complaint for Damages
Dillard’s Inc. was served via Certified Priority Mail article 7020 3160 0001 5287
4493. The USPS electronic return receipt shows the carrier number “C19” (due to COVID-
19) at 1:08 p.m. on October 5, 2021 at 7719 Woodstar Ave NW, Albuquerque, New Mexico

87114 (Exhibit A, pg. 3). Jon Notz, Individually, has been sufficiently served in accordance

with Rule 1-004(G)(3) NMRA.

Respectfully submitted,

VALDEZ & WHITE LAW FIRM, LLC

By:/s/Timothy L. White
Timothy L. White
124 Wellesley Drive SE
Albuquerque, NM 87106
Tel: (505) 345-0289
Fax: (505) 345-2573

CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of this pleading was electronically
filed in Odyssey on this 8th day of October 2021, thereby serving all counsel of record.

/s/Timothy L. White
Timothy L. White
 

SUMMONS ON COMPLAINT FOR DAMAGES |

 

 

District Court: Second Judicial Case Number: D-202-C V-2021-05333
Court Address: 400 Lomas Blvd NW
Albuquerque, New Mexico $7102 Judge: Honorable Erin O’Connell

Court Telephone No: (505) 841-8400
Cornelius Mackey,

 

Name: Jon Notz Individually
Plaimtitf, Address:

v. 7719 Woodstar Ave NW

Albuquerque, New Mexico 87114

DILLARD'S, INC, JON NOTZ, Individually

and as Agent of Dillard’s Inc., and FULIE DOE,

Individually and as Agent of Dillard’s Inc.,

 

 

 

Defendants.

 

TO THE ABOVE NAMED DEFENDANT(S) Take notice that

1. A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this
Summons.
2. You must respond to this lawsuit in writing. You must file your written response with the Court

no later than thirty (40) days from the date you are served with this Summons. (The date you are
considered served with the Sumnions is determined by Rule 1-004 NMRA} The Court's address is
listed above.

 

3. You must file Gn person or by mail) your written response with the Court. When you file your
response, you must give or mail a copy to the person who signed the lawsuit.
4, lf you do not respond in writing, the Court may enter judgment against you as requested in the
lawsuit.
5. You are entitled to a jury trial in most types of lawsuits. To ask for ajury tial, you must request
one in writing and pay a jury fee.
6. if you need an interpreter, you must ask for one in writing.
7, You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www nmbarore: 1-800-876-6657; or 1-505-797-6066.
Dated at . New Mexico, on this day of 40/4/9024 2021,

Katina Watson , CLERK OF COURT

 

Attorney for Plaintiff
Name: Timothy L. White
Address: i24 Wellesley Drive SE
Leanne Lecomte Albuquerque, NM 87106
Tel: (505)345-0289
Fax: (505) 345-2573
Email Address: tim@valdeawhite.com

 

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.
 

RETURN

STATE OF NEW MEXICO )
)ss
COUNTY OF BERNALILLO )

I, being duly sworn, on oath, state that | am over the age of eighteen (18) years and not a party to this
lawsuit, and that I served this summons in Bernalillo county on the 5th day of October , 2021,

by delivering a copy of this summons, with a copy of complaint attached, in the following manner:

DX to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA.

After attempting to serve the summons and complaint on the defendant by personal service or by mail or
commercial courier service, by delivering a copy of this summons, with a copy of complaint attached, in
the following manner:

[] to . a person over fifteen (15) years of age and residing at the usual
place ofabode of defendant. , (used when the defendant is not presently at place of
abode) and by mailing by first class mail to the defendant at __ (insert defendant's
last known mailing address) a copy of the summons and complaint.

[] to , the person apparently in charge at the actual place of business or
employment of the defendant and by mailing by first class mail to the defendant at
(insert defendant's business address) and by mailing the summons and
complaint by first class mail to the defendant at (insert defendant's last known

 

 

 

 

 

mailing address).

[] to , an agent authorized to receive service of process for defendant
[] to , [parent] [guardian] [custodian] [conservator] [guardian ad litem] of
defendant (used when defendant is a minor or an incompetent person).

[] to (name of person), . (title of

 

 

person authorized to receive service. Use this alternative when the defendant is a corporation or an
association subject to a suit under a common name, a land grant board of trustees, the State af New
Mexico or any political subdivision).

Fees: wa Up» lite

Signature of person niaking service

 

 

Nae

 

Title (ifany)

Subscribed and sworn to before me this 7th day of October , 2021

   

 

Official Seat
JA ALROY
Notary Public

wie) State of New Mexi
wy, Commiasion Expires “fishes

    

 

 

orized to administer oaths

 

 

Official title

1 EXHIBIT A
 

 

UNIVERSITY
115 CORNELL DR SE
ALBUQUEROUE, NM 87106-9996
(SO0} 278-8777

 
 
  

1004/2024 _ 1: 32 AM
Product t Oty Ur t Pr i oe
Price
Priority Nal ie tay. 1 $8. 70
Flat. Rate boy.
Rate or. uw
Expac ted Delivery Date 4
Tue 10/05/2024
mn, CAPT Pied Mai l® $3.75
Tr:

e-Return Receic#t oF | - $1.85
Total #14 40

Priority Mail® 2-Day 4 Dyes $3,760

Flat Rate Env

Espanola, NM 87832
Flat Rate Jue He
Expented Gelivery Date
Tru 10/07/2024
Certified Maile $375
a Tracking #:
MAYS EGOS 2874394

e-Return Receipt $1.85
Total $14.30
Brand Total: $28.60
Deisit Card Remi tted 28 60

EXHIBIT A
 

geo VAETED STATES
Ba POSTAL SERVICE

October 5, 2021

Dear Jan Alroy:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 3160 0001 5287 4493.

Status: Delivered, Left with Individual
Status Date / Time: October 5, 2021, 1:08 pm
Location: ALBUQUERQUE, NM 87114
Postal Product: Priority Mail®

Extra Services: Certified Mail™

Return Receipt Electronic
Up to $50 insurance included

shipment Details

 

Weight: 3.00z

 

Recipient Signature

 

Signat f Recipient ~!"
ignature of Recipient: CC G

7719 WOODSTAR AVE NW
ALBUQUERQUE, NM 87114

Address of Recipient:

 

 

 

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

3 EXHIBIT A
